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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

                    v.                                           Case No. 21-CR-175-2

JOSEPH RANDALL BIGGS,                                            Judge Timothy J. Kelly

                   Defendant.

                  BIGGS’ THIRD SUPPLEMENT TO MOTION TO
             REOPEN HEARING AND FOR RELEASE FROM DETENTION

      Defendant Joseph R. Biggs (“Biggs”) files this Third Supplement to his Motion to Reopen (ECF

No. 137) under 18 U.S.C. Section 3142(f). As the Court knows, new information has been submitted

by defense counsel since mid-August. The information shows that conditions of release to protect

against future dangerousness is at best an illusory issue. The Justice Department has known this since

the time of Biggs’ detention hearing on April 6, 2021. Clear and convincing evidence does not exist to

support: (a) a conspiracy/plan by Proud Boy leadership to interfere with the January 6 Biden-Harris

certification, (b) acts in furtherance of a plan or (c) other January 6 acts sufficient to find future

dangerousness. Finally, because there was no plan, any DOJ coercion strategy to pry false histories

and cooperation agreements from Biggs or from any of his three codefendants while in detention over

the past half-year has obviously failed and will continue to fail. Therefore, Biggs asks for restoration

to the home detention status (with appropriate modifications) he was serving January 20-April 22.


                                                 Respectfully submitted,

  Dated: October 4, 2021                      By: /s/John Daniel Hull
                                                 J. DANIEL HULL
                                                 DC Bar No. 323006
                                                 COUNSEL FOR JOSEPH R. BIGGS
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                                CERTIFICATE OF SERVICE

      The undersigned certifies that on October 4, 2021, he served a true and correct copy of

the forgoing Third Supplement via Electronic Case Filing (ECF) system upon counsel for the

government and all counsel of record.


                                             By: /s/John Daniel Hull
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